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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,

-vs-                                                          Case No. 8:05-cr-488-T-24TGW

TRUOC TRAN,
      a/k/a “Truc”
__________________________________/

                                         ORDER

       This cause comes before the Court for consideration of the Government’s Motion to

Dismiss Indictment as to Truoc Tran Only (Doc. No. 194). The Government moves to dismiss

the Indictment which is pending against Defendant Truoc Tran, a/k/a Truc, due to his death on

January 27, 2006.

       Accordingly, it is ORDERED AND ADJUDGED that the Government’s Motion to

Dismiss Indictment as to Truoc Tran Only (Doc. No. 194) is GRANTED.

       DONE AND ORDERED at Tampa, Florida, this 1st day of February, 2006.




Copies to:
Counsel of Record
